447 F.2d 1366
    Felton SHOWERS, Plaintiff,v.DET BERGENSKI DAMPSKIBSSELSKAB, Defendant-Third PartyPlaintiff, v. SOUTHPORT TERMINALS, INC., Third PartyDefendant-Fourth Party Plaintiff-Appellee, v. The HOMEINDEMNITY COMPANY, Fourth Party Defendant-Appellant.No. 71-2123 Summary Calendar.**Rule 18, 5 Cir.; See Isbell Enterprises, Inc.v.Citizens Casualty Company of New York et al., 5 Cir. 1970,431 F.2d 409, Part I.
    United States Court of Appeals, Fifth Circuit.
    Sept. 16, 1971.
    
      Gary M. Witters, of Allen, Dell, Frank &amp; Trinkle, Tampa, Fla., for Home Indem. Co.
      William F. McGowan, Jr., of Carlton, Fields, Ward, Emmanuel, Smith &amp; Cutler, Tampa, Fla., for Southport Terminals, Inc.
      Appeal from the United States District Court for the Middle District of Florida; Joseph P. Lieb, Chief Judge.
      Before COLEMAN, SIMPSON and MORGAN, Circuit Judges.
      PER CURIAM:
    
    Affirmed.1  See Local Rule 21.2
    
      
        1
         Southport Terminals, Inc. applies for the allowance under Florida Statute Section 627.0127, F.S.A. of additional attorneys' fees as a part of the costs on this appeal.  The statute contemplates such fees, but we deem it appropriate that their allowance be considered by the District Court rather than by this Court.  That court is directed to consider an application therefor by Southport upon the going down of our mandate.  Servin, Inc. v. Key West Hand Print Fabrics, Inc., 5 Cir. 1967, 381 F.2d 735, 736; D/S Ove Skou v. Hebert, 5 Cir. 1966, 365 F.2d 341, 353
      
      
        2
         See N.L.R.B. v. Amalgamated Clothing Workers of America, 5 Cir. 1970, 430 F.2d 966
      
    
    